                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                                     No. CR06-4106-MWB
 vs.                                                 REPORT AND RECOMMENDATION
                                                      CONCERNING PLEA OF GUILTY
 DEBORAH THEELER
                Defendant.
                                    ____________________

       On June 18, 2007, the above-named defendant, by consent, appeared before the undersigned
United States Magistrate Judge pursuant to Federal Rule of Criminal Procedure 11, and entered a
plea of guilty to Count One of the Superseding Indictment. After cautioning and examining the
defendant under oath concerning each of the subjects mentioned in Rule 11, the court determined
that the guilty plea was knowledgeable and voluntary, and the offense charged was supported by an
independent basis in fact containing each of the essential elements of the offense. The court
therefore RECOMMENDS that the plea of guilty be accepted and the defendant be adjudged guilty.
       At the commencement of the Rule 11 proceeding, the defendant was placed under oath and
advised that if she answered any questions falsely, she could be prosecuted for perjury or for making
a false statement. She also was advised that in any such prosecution, the Government could use
against her any statements she made under oath.
       The court then asked a number of questions to ensure the defendant’s mental capacity to
enter a plea. The defendant stated her full name, her age, and the extent of her schooling. The court
inquired into the defendant’s history of mental illness and addiction to narcotic drugs. The court
further inquired into whether the defendant was under the influence of any drug, medication, or
alcoholic beverage at the time of the plea hearing. From this inquiry, the court determined that the
defendant was not suffering from any mental disability that would impair her ability to make
knowing, intelligent, and voluntary pleas of guilty to the charges.
       The defendant acknowledged that she had received a copy of the Superseding Indictment,
and she had fully discussed these charges with her attorney.




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       The court determined that the defendant was pleading guilty under a plea agreement with the
Government. After confirming that a copy of the written plea agreement was in front of the
defendant and her attorney, the court determined that the defendant understood the terms of the plea
agreement. The court then summarized the plea agreement, and made certain the defendant
understood its terms.
       The defendant was advised that any sentencing recommendation by the Government, or any
agreement not to oppose a particular sentence, would not be binding on the court, and the defendant
would have no right to withdraw her plea if such a recommendation or request were not accepted
by the court. The defendant was advised also that after her plea was accepted, she would have no
right to withdraw the plea at a later date, even if the sentence imposed was different from what the
defendant or her counsel anticipated.
       The court then summarized the charge against the defendant, and listed the elements of the
crime. The court determined that the defendant understood each and every element of the crime,
ascertained that her counsel had explained each and every element of the crime fully to her, and the
defendant’s counsel confirmed that the defendant understood each and every element of the crime
charged.
       The court then elicited a full and complete factual basis for all elements of the crimes
charged in each Count of the Superseding Indictment to which the defendant was pleading guilty.
       The court advised the defendant of the consequences of her plea, including the maximum
fine, the maximum term of imprisonment, and the mandatory minimum term of imprisonment.
       With respect to Count One, the defendant was advised that the maximum fine is $8,000,000;
the maximum term of imprisonment is life; the mandatory minimum term of imprisonment is 20
years; the maximum period of supervised release is life; and the minimum period of supervised
release is ten years.
       The defendant also was advised that the court is obligated to impose a special assessment
of $100.00, which the defendant must pay. The defendant also was advised of the collateral
consequences of a plea of guilty. The defendant acknowledged that she understood all of the above
consequences.




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       The court then explained supervised release to the defendant, and advised her that a term of
supervised release would be imposed in addition to the sentence of imprisonment. The defendant
was advised that among other conditions of supervised release, she could not commit another
federal, State, or local crime while on supervised release, and she could not possess illegal controlled
substances while on supervised release. The defendant was advised that there are other standard
conditions of supervised release, and the court could impose additional special conditions. The
defendant was advised that if she were found to have violated a condition of supervised release, then
her term of supervised release could be revoked and she could be required to serve in prison all or
part of the term of supervised release without credit for time previously served on supervised
release.
       The court also explained to the defendant that the district judge would determine the
appropriate sentence for her at the sentencing hearing. The defendant confirmed that she understood
the court would not determine the appropriate sentence until after the preparation of a presentence
report, which the parties would have the opportunity to challenge. The defendant acknowledged that
she understood the sentence imposed might be different from what her attorney had estimated. The
defendant also was advised that both she and the Government would have the right to appeal the
sentence. The defendant was advised that parole has been abolished.
       The defendant indicated she had conferred fully with her counsel and she was fully satisfied
with her counsel. The defendant’s attorney indicated the attorney had had full access to the
Government’s discovery materials, and they supported a factual basis for the plea.
       The defendant then was advised fully of her right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.      The right to assistance of counsel at every stage of the pretrial and trial proceedings;
       2.      The right to a speedy, public trial;
       3.      The right to have her case tried by a jury selected from a cross-section of the
               community;
       4.      That she would be presumed innocent at each stage of the proceedings, and would
               be found not guilty unless the Government could prove each and every element of
               the offense beyond a reasonable doubt;
       5.      That the Government could call witnesses into court, but the defendant’s attorney
               would have the right to confront and cross-examine these witnesses;

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       6.      That the defendant would have the right to see and hear all witnesses presented at
               trial;
       7.      That the defendant would have the right to subpoena defense witnesses to testify at
               the trial, and if she could not afford to pay the mileage and other fees to require the
               attendance of these witnesses, then the Government would be required to pay those
               costs;
       8.      That the defendant would have the privilege against self incrimination; i.e., she could
               choose to testify at trial, but she need not do so, and if she chose not to testify, then
               the court would, if the defendant requested, instruct the jury that the defendant had
               a constitutional right not to testify;
       9.      That any verdict by the jury would have to be unanimous;
       10.     That she would have the right to appeal, and if she could not afford an attorney for
               the appeal, then the Government would pay the costs of an attorney to prepare the
               appeal.
       The defendant also was advised of the rights she would waive by entering a plea of guilty.
The defendant was told there would be no trial, she would waive all the trial rights just described,
and she would be adjudged guilty without any further proceedings except for sentencing.
       The defendant then confirmed that her decision to plead guilty was voluntary and was not
the result of any promises other than plea agreement promises; no one had promised her what the
sentence would be; and her decision to plead guilty was not the result of any threats, force, or
anyone pressuring her to plead guilty.
       The defendant then confirmed that she still wished to plead guilty, and she pleaded guilty
to Count One of the Superseding Indictment.
       The court finds the following with respect to the defendant’s guilty plea:
       1.      The guilty plea is voluntary, knowing, not the result of force, threats or promises,
               except plea agreement promises, and the defendant is fully competent.
       2.      The defendant is aware of the maximum punishment.
       3.      The defendant knows her jury rights.
       4.      The defendant has voluntarily waived her jury rights.
       5.      There is a factual basis for the plea.
       6.      The defendant is, in fact, guilty of the crime to which she is pleading guilty.
       The defendant has executed a Consent to the Court’s Inspection of Presentence Report Prior
to Guilty Plea. The defendant was advised that a written presentence investigation report would be

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prepared to assist the court in sentencing. The defendant was asked to provide the information
requested by the U.S. Probation Office to prepare the presentence investigation report. The
defendant was told that she and her counsel would have an opportunity to read the presentence
report before the sentencing hearing and to object to the contents of the report, and she and her
counsel would be afforded the opportunity to present evidence and be heard at the sentencing
hearing.
       The defendant was advised that the failure to file written objections to this Report and
Recommendation within 10 days of the date of its service would bar her from attacking this court’s
Report and Recommendation, which recommends that the assigned United States District Judge
accept the defendant’s plea of guilty. A copy of this Report and Recommendation was served on
the defendant and her attorney at the conclusion of the proceeding.
       DONE AND ENTERED at Sioux City, Iowa, this 18th day of June, 2007.




                                             PAUL A. ZOSS
                                             CHIEF MAGISTRATE JUDGE
                                             UNITED STATES DISTRICT COURT




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